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       In the United States Court of Federal Claims
  * * * * * * * * * * * * * * *                *
  STEVEN J. NEALY and COLLEEN L.               *
  NEALY,                                       *
                                               *
                        Plaintiffs,            *          No. 10-162L
                v.                             *          Filed: April 10, 2015
                                               *
  UNITED STATES,                               *
                                               *
                       Defendant.              *
                                               *
  * * * * * * * * * * * * * * *                *


                                        ORDER

       The court is in receipt of parties’ April 10, 2015 joint stipulation of dismissal with
prejudice. Pursuant to Rule 41(a)(1)(A)(ii) of the Rules of the United States Court of
Federal Claims (2014), this court ORDERS that this case be DISMISSED with prejudice,
with each party to bear its own costs. The Clerk of the Court shall enter JUDGMENT
consistent with this Order.


       IT IS SO ORDERED.
                                                          s/Marian Blank Horn
                                                          MARIAN BLANK HORN
                                                                     Judge
